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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X                              1/11/21
United States of America,
                                                                     ORDER
                                                                     18-CR-420 (ALC)
                          -against-


Clarence Grandy,
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ANDREW L. CARTER, JR., United States District Judge:

        The Sentencing scheduled for January 14, 2021 is adjourned to January 27, 2021 at

11:00 a.m.

        SO ORDERED.

 Dated: New York, New York
        January 11, 2021


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                                                    ANDREW L. CARTER, JR.
                                                    UNITED STATES DISTRICT JUDGE
